                         United States District Court
                       Western District of North Carolina
                              Statesville Division

     Mark Emmanuel Martinez,          )              JUDGMENT IN CASE
                                      )
            Petitioner(s),            )                5:19-cv-00117-MR
                                      )
                 vs.                  )
                                      )
           Erik A. Hooks,             )
                                      )
           Respondent(s).             )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 2, 2021 Order.

                                               November 2, 2021




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